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                               UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                Case No.: 24-CV-20600-WILLIAMS


  TEAM MARKETING GROUP, INC.,         )
                                      )
        Plaintiff,                    )
                                      )
  VERIZON COMMUNICATIONS, INC., )
  TRACFONE WIRELESS, INC.             )
                                      )
        Defendants.                   )
  ____________________________________/

                       MOTION TO APPEAR PRO HAC VICE,
                   CONSENT TO DESIGNATION, AND REQUEST TO
             ELECTRONICALLY RECEIVE NOTICES OF ELECTRONIC FILING

         In accordance with Local Rules 4(b) of the Rules Governing the Admission, Practice, Peer
  Review, and Discipline of Attorneys of the United States District Court for the Southern District
  of Florida, the undersigned respectfully moves for the admission pro hac vice of Trippe Steven
  Fried of the law firm of Steven Fried Esquire, 954 Lexington Ave, # 1051, New York, NY 10021
  Phone#917-392-9302, for purposes of appearance as co-counsel on behalf of TEAM
  MARKETING GROUP, INC in the above-styled case only, and pursuant to Rule 2B of the
  CM/ECF Administrative Procedures, to permit Trippe Steven Fried to receive electronic filings in
  this case, and in support thereof states as follows:
         1.      Trippe Steven Fried is not admitted to practice in the Southern District of Florida
  and is a member in good standing of the United States District Court Middle District of
  Tennessee.
        2.       Movant, Sheleen G. Khan Esquire, of the law firm of Law Office of Sheleen G. Khan
  P.A, 13499 Biscayne Blvd # T2, Miami, Fl 33181 Phone 954-328-1373, is a member in good
  standing of The Florida Bar and the United States District Court for the Southern District of Florida
  and is authorized to file through the Court’s electronic filing system. Movant consents to be
  designated as a member of the Bar of this Court with whom the Court and opposing counsel may
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  readily communicate regarding the conduct of the case, upon whom filings shall be served, who
  shall be required to electronically file and serve all documents and things that may be filed and
  served electronically, and who shall be responsible for filing and serving documents in compliance
  with the CM/ECF Administrative Procedures. See Section 2B of the CM/ECF Administrative
  Procedures.
        3.      In accordance with the local rules of this Court, [Name of Atty Seeking Admission]
 has made payment of this Court’s $200.00 admission fee. A certification in accordance with Rule
 4(b) is attached hereto.
        4.      Trippe Steven Fried by and through designated counsel and pursuant to Section 2B
 CM/ECF Administrative Procedures, hereby requests the Court to provide Notice of Electronic
 Filings to Trippe Steven Fried at email address: sfried@olyverapp.com.
        WHEREFORE, Movant, Sheleen G. Khan Esquire moves this Court to enter an Order Trippe
 Steven Fried to appear before this Court on behalf of TEAM MARKETING GROUP, INC., for all
 purposes relating to the proceedings in the above-styled matter and directing the Clerk to provide
 notice of electronic filings to Trippe Steven Fried.


 Date: February 26, 2024                Respectfully submitted,


                                        By:/s/Sheleen G. Khan, Esq.
                                        LAW OFFICE OF SHELEEN G. KHAN, P.A.
                                        Counsel for Movant
                                        13499BiscayneBoulevard,SuiteT2
                                        Miami,Florida33181
                                        Primary Tel: 954-328-1373
                                        Tel: 305-454-9126
                                        Facsimile: 305-356-7099
                                        Email: sgklaw@gmail.com
                                        SHELEENG.KHAN,ESQ.
                                        FBN:637033
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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                Case No.: 24-CV-20600-WILLIAMS


 TEAM MARKETING GROUP, INC.,         )
                                     )
       Plaintiff,                    )
                                     )
 VERIZON COMMUNICATIONS, INC., )
 TRACFONE WIRELESS, INC.             )
                                     )
       Defendants.                   )
 ____________________________________/

                     ORDER GRANTING MOTION TO APPEAR
            PRO HAC VICE, CONSENT TO DESIGNATION AND REQUEST TO
           ELECTRONICALLY RECEIVE NOTICES OF ELECTRONIC FILING

        THIS CAUSE having come before the Court on the Motion to Appear Pro Hac Vice for
 Trippe Steven Fried, Consent to Designation, and Request to Electronically Receive Notices of
 Electronic Filing (the “Motion”), pursuant to the Rules Governing the Admission, Practice, Peer
 Review, and Discipline of Attorneys in the United States District Court for the Southern District of
 Florida and Section 2B of the CM/ECF Administrative Procedures. This Court having considered
 the motion and all other relevant factors, it is hereby
        ORDERED AND ADJUDGED that:
        The Motion is GRANTED. Trippe Steven Fried, may appear and participate in this action
 on behalf of TEAM MARKETING GROUP, INC. The Clerk shall provide electronic notification
 of all electronic filings to Trippe Steven Fried, at sfried@olyverapp.com


        DONE AND ORDERED in Chambers at                                   , Florida, this        day
 of              .


                                                                  United States District Judge
 Copies furnished to: All Counsel of Record
